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                         UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF NEW JERSEY

 In re:                             )   Case No. 08-14631(GMB)

 SHAPES/ARCH HOLDINGS L.L.C.)           Chapter 11
 et al.,

       Debtors.                     )   Hearing Date: July 8, 2008
                                                       9:00 a.m.


    THE STATE OF NEW JERSEY, DIVISION OF TAXATION'S OBJECTION TO
                    CONFIRMATION OF DEBTORS PLAN

            The State of New Jersey, Division of Taxation ("the N.J.

 Division")      objects    to   confirmation      of   the   Debtors       Plan   of

 Reorganization ("the Plan").

                                   INTRODUCTION

            1.      The confirmation of debtors Plan should be denied

 because the Plan fails to provide adequate treatment of priority

 claims as required under 11 U.S.C. §1129(a)(9)(C).                Specifically,

 this Court should deny confirmation of debtor's Plan for the

 following reasons:

                    a.     The Plan fails to provide for the statutory
                           rate of post-confirmation interest for the
                           N.J. Division's claims.
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                    b.   Debtors have not filed several required tax
                         returns.

                    c.   The Plan's broad release and injunction
                         provisions regarding claims against non-debtor
                         officers, directors, and/or other responsible
                         persons of debtors inappropriately restrains
                         the N.J. Division's and the Department's
                         collection   activities   against   non-debtor
                         responsible persons in violation of 11 U.S.C.
                         §524(e) and the Tax Injunction Act.

                    d.   The Plan fails to provide default remedies as
                         to all tax claims.


                                        FACTS

            2.      On March 16, 2008, debtors filed a petition for

 relief under Chapter 11 of the Bankruptcy Code.

            3.      The N.J. Division has filed a priority proof of

 claim and schedule of liabilities against the debtor in the amount

 of $33,510.09 for Partnership Fee and Tax ("PRT-FT")for tax years

 2004 through 2006 and Sales and Use Tax ("S&U")for the 3rd quarter

 of 2002, 3rd and 4th quarters of 2004, 1st quarter of 2005.

            4.      The Plan provides in Article III, Section 3.3 that

 each holder of an Allowed Priority Tax Claim shall be paid in

 respect of such Allowed Claim (a) the full amount thereof, without

 post petition interest or penalty, in Cash, as soon as practicable

 after the later of (i) the Effective date and (ii) the date on

 which such claim becomes an Allowed Claim ... provided, however

 that the aggregate amount of the Priority Tax Claims are not in

 excess of eighty four thousand, six hundred sixty seven dollars


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 ($84,667.00).      Debtors      plan    only      proposes   payment   of    post-

 confirmation interest at the "prevailing rate" of 6%. However, the

 proper post-confirmation interest rate is the State statutory rate

 of repayment of taxes, prime plus 3%, currently 9%.               Moreover, the

 debtors do not specifically include Division of Taxation's Priority

 Tax Claim in the Chapter 11 Plan.

                                        ARGUMENT

                                        POINT I

            THE PLAN SHOULD NOT BE CONFIRMED BECAUSE IT
            FAILS TO MEET THE REQUIREMENTS OF 11 U.S.C.
            §1129(a)(9)(C) FOR PRIORITY CLAIMS.

            5.      Payout treatment of priority tax claims in Chapter

 11 reorganizations is governed by 11 U.S.C. §1129(a)(9)(C).                    This

 statutory provision states:

            [w]ith respect to a claim of a kind specified
            in section 507(a)(8) of this title [Priority
            Tax Claims], the holder of such claim will
            receive on account of such claim regular
            installment payments in cash -- (i) of a total
            value, as of the effective date of the plan,
            equal to the allowed amount of such claim;
            (ii) over a period ending not later than 5
            years after the date of the order for relief
            under section 301, 302, or 303; and (iii) in a
            manner not less favorable than the most
            favored nonpriority unsecured claim provided
            for by the plan (other than cash payments made
            to a class of creditors under section
            1122(b))...

            6.      Although debtors have provided that priority tax

 claims will be paid either the (a) full amount thereof, without

 post petition interest or penalty, in cash as soon as practicable


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 after the later of (i) the Effective Date and (ii) the date on

 which such claim becomes an allowed claim and debtors prior to he

 Effective Date ... or (b) over a period of five (5) years from the

 Petition Date in equal monthly installments of principal plus

 interest at the rate of six percent(6%) per annum, the debtor does

 not specifically provide for the payment of the N.J. Division's

 Priority Claim in the Plan.

                7.   Furthermore, regarding the N.J. Division's priority

 claim, debtors have also failed to file the following tax returns:

 PRT-FT    for 2004, through 2006, and S&U returns for 3rd quarter of

 2002,    3rd    quarter   of     2004   through    the    1st   quarter   of    2005.

 Debtor's failure to file this tax return has impeded the N.J.

 Division from filing an accurate claim.                  Debtor should file this

 delinquent return with Investigator Richard Flatch, Bankruptcy

 Section, Division of Taxation, 50 Barrack Street, P.O. Box 245,

 Trenton, New Jersey 08695-0245.

                8.    Since debtors Plan fails to provide for the N.J.

 Division's priority claim, the Plan accordingly fails to provide

 for repayment with post-confirmation interest at the statutory

 rate.    As provided by §1129(a)(9)(C)(i) a priority creditor is

 entitled to repayment of the total "value" of its claim as of the

 effective date.       In order for a creditor to receive the "value" of

 its claim, payments must include post-confirmation interest to

 compensate for the true value of money.


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               9.    The proper post-confirmation interest rate is the

 state statutory rate for repayment of taxes.                 Pursuant to §511(a),

 "[i]f   any    provision       of    this    title    requires...the    payment    of

 interest to enable a creditor to receive the present value of the

 allowed amount of a tax claim, the rate of interest shall be the

 rate    determined      under       applicable      nonbankruptcy    law."     Under

 N.J.S.A. 54:49-3, the N.J. Division's statutory rate of interest

 for delinquent taxes is three percentage points above the prime

 rate.

               10.   Further, pursuant to §511(b), "[i]n the case of

 taxes paid under a confirmed plan under this title, the rate of

 interest shall be determined as of the calendar month in which the

 plan is confirmed."        Therefore, the statutory rate of interest for

 repayment of the N.J. Division's priority claim under debtors' Plan

 is currently 9%.

               11.   If debtors intend to repay the N.J. Division's

 priority claim in full by a lump sum payment, or over a period of

 five years, the N.J. Division is entitled to have post-confirmation

 interest      accrue    from     the   Effective      Date   until   the   lump   sum

 repayment date. Courts have logically required interest be payable

 on lump sum repayments.             See, e.g., In re Arrow Air, Inc., 101 B.R.

 332, 336 n. 6 (S.D. Fla. 1989) (Plan provisions undertaking to

 repay priority tax claims in full deemed a "guaranteed payment in

 the manner provided by Section 1129(a)(9)(C)" and therefore, IRS


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 entitled      to    post-confirmation          interest,      disagreeing    with       the

 debtor's argument that a "single lump sum payment can never qualify

 as a deferred cash payment" for interest purposes); In re Collins,

 184 B.R. 151, 154-56 (Bankr. N.D. Fla. 1995) (also allowing for

 post-confirmation interest on lump sum payments).                      Therefore, the

 N.J. Division's tax claims should be repaid with post-confirmation

 interest even if repaid in full, in cash, within an unspecified

 date   from    the       Effective      Date    when    the   claim    may   be   deemed

 "allowed."

               12.    A    Plan      filed    under     Chapter    11   should     not    be

 confirmed unless all the mandatory requirements of 11 U.S.C. §1129

 are met.      The burden is on the debtor to prove that all of these

 requirements have been complied with, therefore making the Plan

 capable of being confirmed.               In re Jacob Wandler, 77 B.R. 728, 732

 (Bankr. D. N.D. 1987).

               13.    Since         debtors     have     not      complied    with       the

 requirements of 11 U.S.C. §1129(a)(9)(C) for priority claims, the

 N.J. Division respectfully submits that this court should not

 confirm Debtors' Plan.

                                           POINT II

               THE PLAN'S RELEASE AND INJUNCTION LANGUAGE
               WITH RESPECT TO OBLIGATIONS OF INDEPENDENT
               NON-DEBTOR INDIVIDUALS SHOULD BE AMENDED.

               14.    The proposed plan at Article VI, Sections 6.2 and

 6.3 and Article XI, Section 11.10 provides that all holders of


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 Claims   (the    "Releasors")        will    unconditionally    and   irrevocably

 "release any debtors, as well as debtors' "shareholders, members,

 managers, general partners, officers, directors, employees, agents,

 representatives,     attorneys        and    advisors   or   consultants"        (the

 "Released Parties" and the "Protected Parties")from all potential

 direct, indirect or derivative claims, suits, judgments, etc.

 Debtor's   proposed    injunction            Sections   provide      that   on    the

 Effective Date, the Releasors are permanently enjoined from taking

 listed actions against the Released and Protected Parties.

            15.     The broad language of these sections would operate

 as a release of the N.J. Division's ability to collect unpaid trust

 fund taxes of debtors from non-debtor responsible officers and also

 enjoin   the    collection      of    such    debts   from   these    individuals.

 Debtor's proposed injunction violates 11 U.S.C. §524(e) and should

 be amended as to the N.J. Division's claim because it impinges upon

 the State's statutory and legal rights of collecting taxes from

 non-debtors.     Section 524(e) of the Bankruptcy Code "makes clear

 that the bankruptcy discharge of a debtor, by itself, does not

 operate to relieve non-debtors of their liabilities."                        In re

 Continental Airlines, 203 F.3d 203, 211 (3d Cir. 2000).

            16.     Here, a portion of the tax claim is for trust fund

 taxes, for which a responsible person or officer of debtor may be

 held liable. Since the N.J. Division has the right pursuant to

 State law to pursue responsible officers for tax liabilities,


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 confirmation      of    debtor's       Plan     with    the    included    release     and

 injunction language would violate the Tax Injunction Act, 28 U.S.C.

 §1341.   McCrory Corp. v. Texas Comptroller of Public Accounts, 212

 B.R. 229, 231 (S.D. N.Y. 1997).                 The Tax Injunction Act provides:

             The District Courts shall not enjoin, suspend
             or restrain the assessment, levy or collection
             of any tax under State law where a plain,
             speedy and efficient remedy may be had in the
             courts of such State. 28 U.S.C. §1341.

             17.    Since     the       Tax   Injunction       Act   is   applicable     to

 taxation and collection under State taxing statutes, any attempt to

 prevent the taxing authority from asserting State law remedies

 against non-debtors, either through a release or injunction, is in

 violation    of    28    U.S.C.        §1341     and,    subsequently,       11     U.S.C.

 §1129(a)(3). Therefore, the N.J. Division objects to Plan language

 releasing    non-debtors          or    preventing       the    N.J.     Division    from

 exercising its statutory rights against non-debtor responsible

 persons.

             18.    Further, the debtors Plan seeking a release and

 injunction impermissibly extends this Court's jurisdiction over

 persons not before it as debtors, namely, any responsible persons

 of the debtor.           See, Quattrone Accountants, Inc. v. Internal

 Revenue Service, 898 F.2d 921, 926-27 (3d Cir. 1990); Laughlin v.

 United States, 912 F.2d 197 (8th Cir. 1990), cert. denied, 498 U.S.

 1120   (1991)     (anti-injunction            prevents    bankruptcy       courts    from

 issuing order affecting tax obligations of non-debtors); In re


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 Morrisville Body Works, Inc., 89 B.R. 440, 442 (Bankr. E.D. Pa.

 1988) (when court has no jurisdiction over non-debtor taxpayers, it

 is    "irrelevant"     that      responsible       person   tax    assessment      will

 adversely affect debtor's reorganization).

               19.    Accordingly, the N.J. Division requests that the

 Plan's language be amended to clarify that no release or injunction

 extends to responsible persons with respect to the trust fund tax

 claims of the N.J. Division.

                                         POINT III

               DEBTORS   PLAN        FAILS     TO    PROVIDE       DEFAULT
               REMEDIES.

               20.    The N.J. Division objects to the Plan's failure to

 include remedies in the event of a default under the Plan.

 Although §1123(a)(5)(G) specifies that a Plan should provide

 default remedies for creditors, the debtor's Plan fails to provide

 any such remedies.           Lack of default remedies forces creditors,

 especially priority tax claimants, into an untenable situation

 should the debtor default on Plan obligations.                       Without proper

 default Plan provisions, priority tax claimants would be forced to

 pursue collection of Plan defaults in this Court.

               21.    A post-confirmation default should be treated as

 any   other    contractual       default    under     state   law.       Instead     of

 increasing     the    burden     upon    creditors,    the    Plan      should    grant

 creditors     clear    and    concise     default    remedies      in   forums     with

 concurrent jurisdiction.            Without adequate default remedies, the

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 Plan deprives the N.J. Division of the ability to pursue Plan

 defaults in nonbankruptcy forums. The N.J. Division requests that

 the following language be included in the confirmation order:

            Retained Jurisdiction and Enforcement Remedies
            for Tax Claimants: Notwithstanding anything
            in this plan to the contrary, the Bankruptcy
            Court shall not retain jurisdiction with
            respect to tax claims except for (i) resolving
            the amount any tax claims arising prior to
            confirmation, and (ii) enforcing the discharge
            provisions of the confirmed plan. A failure
            by the reorganized debtor to make a payment to
            holders of tax claims pursuant to the terms of
            the plan shall be an event of default. If the
            reorganized debtor fails to cure an event of
            default as to Plan payments on the tax claims
            within thirty days after receipt of written
            notice of default from a tax claimant, then
            the tax claimant may (a) enforce the entire
            amount of its claim; (b) exercise any and all
            rights and remedies such tax claimant may have
            under applicable nonbankruptcy law; and/or (c)
            seek such relief as may be appropriate in this
            Court.

            22.     The N.J. Division respectfully submits that this

 Court should not confirm this Plan because it fails to provide

 adequate default remedies for tax claims.




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            For the foregoing reasons, the State of New Jersey,

 Division of Taxation respectfully requests this Honorable Court to

 (1) deny confirmation of the debtors Plan; or (2) alternatively

 require   the   debtors    to   modify      their   Plan   to   correct   the

 deficiencies set forth above; and (3) to grant it any other relief

 deemed fair and equitable.



                                    Respectfully submitted,

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